Case 9:18-cv-80176-BB Document 320 Entered on FLSD Docket 11/27/2019 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               Case No. 18-cv-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

          Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  ______________________/

                                            OMNIBUS ORDER

          THIS CAUSE is before the Court upon Plaintiffs’ Motion for Leave to Extend the Time

  Limit for Defendant’s Deposition and to Appoint a Special Master, ECF No. [307], filed on

  November 21, 2019 (“Motion”). Defendant has filed a Response to Plaintiffs’ Motion, ECF No.

  [314]. The Court has reviewed the Motion, the record and applicable law, and is otherwise fully

  advised.

          In the Motion, Plaintiffs request the Court enter an order extending the time limit for the

  Defendant’s deposition to fourteen hours and for the Court to appoint a special master to oversee

  the deposition. See generally, ECF No. [307]. Defendant does not oppose the extension of the time

  limit for Defendant’s deposition, however, requests that such extension not exceed ten hours. See

  generally, ECF No. [314]. The Defendant also argues that a special master should be appointed to

  oversee the depositions of all the parties in this case. 1 ECF No. [314], at 4. The Defendant does

  not oppose the appointment of a special master to oversee his own deposition but proposes that


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    The Court notes that there is no motion presently pending addressing such request, and therefore the
  request is improperly raised at this time. However, after a review of the record, the Court disagrees that it
  reflects the need to appoint a special master to oversee the depositions of all parties in this case
Case 9:18-cv-80176-BB Document 320 Entered on FLSD Docket 11/27/2019 Page 2 of 3
                                                             Case No. 18-cv-80176-BLOOM/Reinhart


  any costs related to such appointment be split by the parties. Id. After a review of the Motion and

  the Response, the Court finds a reasonable basis for the limited extension of the time limit for

  Defendant’s deposition and for the appointment of a special master as specified below.

          On November 26, 2019, the parties filed a Joint Motion for an Extension of Time for

  Certain Pretrial Deadlines, ECF No. [316], which the Court subsequently denied, ECF No. [317].

  The Court appreciates the parties’ efforts in working to provide dates for the Defendant’s

  deposition to take place. Upon review of the filings, and in light of the parties’ varying scheduling

  conflicts, the Court finds good cause exists to extend the Court’s deadlines. Thus, the Court will

  vacate its prior order, and extend the Court’s deadlines to accommodate the parties. The Court

  takes this time to also caution the parties that no further extensions of time shall be granted as

  to the pretrial deadlines in effect.

          Accordingly, it is ORDERED AND ADJUDGED as follows:

                  1. The Motion, ECF No. [307], is GRANTED IN PART AND DENIED IN

                      PART.

                  2. The deposition time limit of Defendant Craig Wright shall be extended to 12

                      (twelve) hours over the course of two (2) days.

                  3. The Honorable Bruce E. Reinhart is APPOINTED as Special Master in this

                      case to oversee the deposition of the Defendant Craig Wright. The Special

                      Master shall appear at the deposition via videoconference. 2

          IT IS FURTHER ORDERED that the Court’s Order, ECF No. [317], is VACATED, the

  Motion, ECF No. [316], is GRANTED, and the Court’s Scheduling Order, ECF No. [286], is

  AMENDED as follows:


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   The parties shall be responsible to ensure that the location where the Defendant’s deposition is to take
  place has the appropriate video conferencing technology and capability.


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Case 9:18-cv-80176-BB Document 320 Entered on FLSD Docket 11/27/2019 Page 3 of 3
                                                           Case No. 18-cv-80176-BLOOM/Reinhart


   December 13, 2019            Parties disclose experts and exchange expert witness summaries or
                                reports.

   January 3, 2020              Parties exchange rebuttal expert witness summaries or reports.

   January 14-15, 2020          The Defendant’s Deposition shall take place on January 14-15, 2020
                                from 1:00 p.m. (GMT) – 7:00 p.m. (GMT) each day.

   January 17, 2020             All discovery, including expert discovery, is completed. All party
                                and expert depositions shall be completed by this date.

   January 21, 2020             All pre-trial motions, motions in limine, and Daubert motions (which
                                include motions to strike experts) are filed. This deadline includes
                                all dispositive motions. Each party is limited to filing one motion
                                in limine and one Daubert motion. If all evidentiary issues cannot be
                                addressed in a 20-page memorandum, leave to exceed the page limit
                                will be granted. The parties are reminded that motions in limine
                                must contain the Local Rule 7.1(a)(3) certification.

         All other provisions in the Scheduling Orders, ECF Nos. [149], [286], not amended in this

  Order, shall remain in full effect.

         DONE AND ORDERED in Chambers at Miami, Florida, on November 27, 2019.




                                                        ____________________________________
                                                        BETH BLOOM
                                                        UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




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